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October 18, 2019
VIA ECF =

 

   
     
 

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Honorable Loretta A. Preska
United States District Court
Southern District of New York

 

 

 

500 Pearl Street: a energie eaS tema
New York, NY 10007 | DATE FILED: 10 -23-\9
Re: Giuffre v. Dershowitz, Case No. 19-Civ-3377-LAP
Request for Adjournment of Rule 16 Conference
Dear Judge Preska,

Defendant Alan Dershowitz (Mr. Dershowitz”) respectfully writes the Court in regard to
your Honor’s order [Dkt. No. 67] scheduling a Rule 16 conference on November 20, 2019 at 11:00

AM. ak Z:00 pn

Counsel for Mr. Dershowitz respectfutly request a brief adjournment of the November 20 .
Rule 16 Conference to. December 2. 2019,This request is made due fo the unavailability of counsel,
Arthur L. Aidala, and myself, Imran H. Ansari, because of the necessity to travel abroad for business
purposes from November 14 - 24, 2019. This is our first request for an adjournment of the Rule 16
conference.

 

In the interim, Mr. Dershowitz will file his Answer to the Plaintiff's Complaint and assert
Counterclaims for defamation and other tortious conduct against the Plaintiff seeking substantial
damages. The additional time will allow Plaintiff to confer with her new counsel about the full scope
of this case, and will allow counsel for both parties to confer more meaningfully about the discovery

which will be necessary for summary judgment and trial.
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As we have not yet received successor counsel for Plaintiff's notice of appearance, we are
copying outgoing counsel Boies Schiller Flexner, LLP on this correspondence so that they may
| inform the Plaintiff of the request made herein. Upon receipt of successor counsel for Plaintiff's
notice of appearance, we shall promptly contact them to confer on a proposed discovery plan, which
\ is currently mandated to be filed by November 13, 2019, pursuant to your Honor’s order.

   

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LORETTA A. PRESKA
UHITED STATES DISTRICT JUDGE

 

 

 

CC: Plaintiff BSF via ECF

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